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                            COURT OF COM ON PLEAS HENRY COUNTY,OHIO

   JASCHA CHIAVERINI                                                                      CASE NO. 17CV0 26
   10-351 COUNTY ROAD 0-3-
   NAPOLEON, OH 43545
              Plaintiff(s)
          vs.
   CITY OF NAPOLEON
   255 W RIVERVIEW AVENUE
                                                       COPY
   NAPOLEON, OH 43545
              Defendant(s)                                                                SUMMONS ON COMPLAINT

 TO THE ABOVE NAMED DEFENDANT:

        You have been named a defendant in a complaintfiiied in the Henry County Common Pleas Court,
 Courthouse,660 N. Perry St., Napoleon, Ohio 43545.

           A copy of the complaint is attached.

        You are required to appear and defend this action by serving an answer to the complaint on the
Plaintiffs attorney or on the Plaintiff if(s)he has no attorney. Your answer must be served within twenty-eight
(28) days after the service of this summons. A copy of your answer must also be filed with this court within
three (3) days after service on the Plaintiffs attorney of the Plaintiff.

              The Plaintiffs attorney is.           MATTHEW O HUTCHINSON
                                                    SHINDLER NEFF LLP
                                                    6135 TRUST DRIVE SUITE 115
                                                    HOLLAND, OH 43528
                                                                                                   'W*

                                                                  CONNIE L SCHNITKEY, Clerk Comm               eas Court
                                                                                                               leas Court


November 17, 2017
(Rule 4- 1970 Ohio Rules of Civil Procedure)
                                                            By                                           Aew
                                                                                                                     Deputy

                                                               RETURN


                                               THE STATE OF OHIO, HENRY COUNTY:
                                               Received this writ on                          at          o'clock
        FEES
Sa R                                           On                                ,1 served
MILEAGE
POSTAGE                                        1 was unabletoserve for the following reason
DOCKET

                                               I made residence service by leaving with

                                                     ❑ Henry County Sheriff ❑ Foreign Sheriff ❑ Process Server
TOTAL
                                               Served By         SEE ATTACHED RETURN


                                                                                                                      EXHIBIT
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       IN THE COURT OF COMMON PLEAS OF HENRY COUNTY, OHIO
                         GENERAL DIVISION

Jascha Chiaverini                        Case No. i
10351 County Road 0-3
Napoleon, OH 43545                       Judge

and                                      COMPLAINT
                                         WITH JURY DEMAND
Chiaverini, Inc.                         ENDORSED HEREON
125 E. Maumee Ave.
Napoleon, Ohio 43545                    Matthew O. Hutchinson (#0076345)
                                        SHINDLER NEFF up
      Plaintiffs                        6135 Trust Drive, Suite 115
                                        Holland, OH 43528
                                        (419) 243-6281
City of Napoleon                        mhutchinson@shindlerneff.com
255 W. Riverview Avenue                 Attorney for Plaintiff
Napoleon, Ohio 43545

and

Nicholas Evanoff, as an individual
310 Glenwood Ave.
Napoleon, Ohio 43545

and

David Steward, as an individual
310 Glenwood Ave.
Napoleon, Ohio 43545.

and

Jamie Mendez, as an individual
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310 Glenwood Ave.
Napoleon, Ohio 43545

and

Robert Weitzel, as an individual
310 Glenwood Ave.
Napoleon, Ohio 43545

and

David Hill
413 Rohrs Street
Napoleon, Ohio 43545

and

Christina Hill
413 Rohrs Street
Napoleon, Ohio 43545

and

John Doe, unknown persons


       Defendants



         Plaintiffs, Jascha Chiaverini and Chiaverini, Inc., state for their

 Complaint againstthe City of Napoleon, Nicholas Evanoff, David Steward,

 Jamie Mendez, Robert Weitzel, David Hill, and Christina Hill as follows:

      1 Plaintiff, Jascha Chiaverini, is an individual who resides at 10-351

         County Road 0-3, Napoleon, Ohio 43545.

      2. Chiaverini, Inc., d/b/a the Diamond and Gold Outlet, is an Ohio

         corporation, with its principle place of business located at 125 E.

         Maumee Avenue, Napoleon, Ohio 43545.
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 3. Mr. Chiaverini is a manager at the Diamond and Gold Outlet, a retail

    jewelry store, which bas its principle place of business located at 125

    E. Maumee Avenue, Napoleon, Ohio 43545. The Diamond and Gold

    Outlet is owned and operated by Chiaverini, Inc., an Ohio Corporation.

 4. Defendants, Nicholas Evanoff, David Steward, and Jamie Mendez,

    were, at all times relevant, police officers,employed by Defendant, City

    of Napoleon. Defendant, Robert Weitzel, was, at all times relevant,

    employed by Defendant., City of Napoleon, as the Chief of Police.

    Although this action is filed against Defendants Evanoff, Stewart,

    Mendez, and Weitzel in their individual capacities, the acts set forth

    herein were committed by said Defendants in their capacities as

    Napoleon Police Officers.

 5. Defendants, David Hill and Christina Hill, are married individuals

    that reside at 413 Rohrs Street, Napoleon, Ohio 43545.

6. At all times relevant, all Defendants acted under color oflaw..

                         Summary ofthe Facte

 7. Plaintiffs incorporate paragraphs 1 through 6 as if stated herein.

 8, On, or about, December 2, 2016, Defendant Evanoff, filed a criminal

    complaint in the Napoleon Municipal Court charging Mr. Chiaverini

    with one count of money laundering, which he claimed was an alleged

    violation of Ohio Revised Code 1315.55(A)(1), a felony of the third

    degree, licenses requirements under Ohio's precious metals dealers act,
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    which was an alleged violation of Ohio Revised Code 4782.02, a

    misdemeanor of the first degree, and receiving stolen property, an

    alleged violation of Ohio Revised Code 2913.51(A), a misdemeanor of

    the first degree. On December 8, 2012, Defendant Evanoff filed an

    additional criminal complaint in the Napoleon Municipal Court

    charging Mr. Chiaverini with a second count of money laundering,

    which he claimed was a violation of Ohio Revised Code 1315.55(A)(3), a

   felony of the third degree.

9. Defendant Evanoff arrested Mr. Chiaverini on, or about, December 2,

    2016, and incarcerated Mr. Chiaverini at the Corrections Center for

    Northwest Ohio(CCNO)for four days without bail. While incarcerated,

    Mr. Chiaverini was strip-searched, deprived of his liberty, and later

   injured.

10. The criminal complaints pertained to a November 16, 2016

   transaction, whereby the Diamond and Gold Outlet had purchased a

    men's ring and a diamond earring from Brent T. Burns for $45. The

   Diamond and Gold Outlet intended,to scrap the ring and earring for

    approximately $56.

11. At all times relevant to the transaction at issue, Mr. Chiaverini was

   acting in his capacity as the manager of Chiaverini, Inc. d/b/a the

   Diamond and Gold Outlet.
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 12. Defendant Burns represented that he was the owner of the men's ring

    and diamond earring.

 13. In compliance with the Diamond and Gold Outlet's policies and

    procedures, which exceed State of Ohio and other governmental

    standards, Mr. Chiaverini required Defendant Burns to execute a store

    buy card and provide a copy of his driver's license. Mr. Chiaverini

    photographed the ring and earring pursuant to its policy.

 14. Later on November 16, 2016, Defendants, David Hill and Christina

    Hill, contacted the Diamond and Gold Outlet and spoke to Mr.

    Chiaverini about a ring David Hill claimed had been stolen.

 15. David Hill contacted the Diamond and Gold Outlet two more times

    inquiring about the purportedly stolen ring.

 16. Because Defendant Hill had not yet reported the ring stolen, Mr.

    Chiavermi advised Defendant Hill to make an appropriate report to

    the Napoleon Police Department.

 17. When David Hill refused to initiate a police report, Mr. Chiaverini

    contacted the Napoleon Police Department to request assistance since

    David Hill was claiming the ring was stolen.

 18. Defendant Evanoff and Defendant Steward responded to the Diamond

    and Gold Outlet and initiated an investigation.
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         19. On November 17, 2016, Defendant Steward, and purportedly

             Defendant Weitzel, executed a letter to the Diamond and Gold Outlet

             stating that they believed the ring and earring in question were stolen.

         20. In the November 17, 2016 letter, Defendant Weitzel and Defendant

             Steward requested that the Diamond and Gold Outlet "hold this item

             as in [Ohio Revised Code] 4727.121 states, [sic] as evidence of the crime

             of Theft."

        21. In the November 17, 2016 letter, Defendant Weitzel and Defendant

             Steward further requested,"Please accept this letter as the official

             request for retaining the items that are confirmed to be stolen and the

             rightful owner being David Hill, 413 Rohrs Street, in Napoleon, Ohio

             43545."

        22. In the November 17, 2016 letter, Defendant Weitzel and Defendant

             Steward, further stated,"Please release these items to David or

             Christina Hill."

        23. On, or about, November 17, 2016, Defendant Christina Hill came to

             the Diamond and Gold Outlet and demanded the return of the ring and

            earring in question, Mr. Chiaverini, as the agent for the Diamond and

             Gold Outlet, declined to return the ring citing the November 17, 2016

            letter from Defendants Weitzel and Steward instructing the Diamond

             and Gold Outlet to hold the items.


 Ohio Revised Code 4727.12 pertains to pawnbrokers, not precious metals dealers. Ohio Revised Code 4728.01, et
seq, pertains to precious metals dealers.
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 24. When Mr. Chiaverini, as an agent for the Diamond and Gold Outlet,

    declined to return the items, Defendants Evanoff and Stewart were

    summoned to the Diamond and Gold Outlet.

 25. Defendants Evanoff and Stewart advised that if the Diamond and

    Gold Outlet agreed to relinquish the ring and earring in question, it

    would be treated as a "co•victim

 26. Concerned that Ohio Revised Code 4728.09 and the November 16,

    2017 letter had ordered the Diamond and Gold Outlet to hold the

    items, Mr. Chiaverini, on behalf of the Diamond and Gold_ Outlet,

    requested the advice of attorney, George Rogers, the then-attorney for

    the ➢iamond and Gold Outlet. Defendants Evanoff and Stewart

    refused to stay to talk to attorney Rogers, and left.

 27. Mr. Hill refused to initiate a police report against Mr, Burns because

    he has a familial relationship with Mr. Burns.

 28. Further, Mr. Hill has never filed a civil lawsuit seeking to recover the

    ring and earring that he claims belong to him.

 29. On, or about, December 2, 2016, Defendant Evanoff executed an

    affidavit in support of his request for a search warrant from Judge

    Amy Rosebrook of the Napoleon Municipal Court.

 30, Defendant Evanoff did not consult with the Napoleon City Law

    Director or Henry County Prosecutor prior to requesting the search

    warrant.
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 31. Based upon information and belief, the policies and procedures of the

    Napoleon City Law Director and/or Henry County Prosecutor require

    officers to consult with a prosecuting attorney prior to seeking a search

    warrant.

 32. Defendant Evanoff averred, among other claims, that Mr, Chiaverini

    and/or the Diamond and Gold Outlet had committed the offenses of

    receiving stolen property, an alleged violation of R.C. 2913.51, precious

    metals dealers license requirements, an alleged violation of RC,

    4728.02, money laundering, an alleged violation of 1315.55, and

    engaging in a corrupt activity, an alleged violation of R.C. 2923.32.

 33. Ohio Revised Code 2923.31(1)(2)(c), which defines "corrupt activities,"

    provides that theft offenses, pursuantto Ohio Revised Code 2913.02,

    and receiving stolen property offenses, pursuant to Ohio Revised Code

    2913.51, are only "corrupt activities," if the value of the property

    exceeds one thousand dollars.

 34. Defendant Evanoff averred in the criminal complaint he filed against

    Mr. Chiaverini that the value of the property was $350, so according to

    Defendant Evanoff, under oath, the value of the property did not

    exceed one thousand dollars.

 35. Defendant Evanoff knew, or should have known, that the definition of

    corrupt activity pursuant to Ohio Revised Code 2923.31(1)(2)(c)
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    required that the property at sue have a value exceeding one

    thousand dollars.

 36. As such, Defendant Evanoff knew, or should have known, that he did

    nothave probable cause for the money laundering and engaging in

    corrupt activity claims because the property did not have a value

    exceeding one thousand dollars.

 37. Defendant Evanoffs claims that the Diamond and Gold Outlet and/or

    Mr. Chiaverini had committed money laundering and engaging in

    corrupt activity were false and misleading.

 38. Defendant Evanoff further concealed from Judge Rosebrook the

    November 17,2016 letter advising the Diamond and Gold Outlet to

    hold the ring and earring in question and otherwise failed to notify

    Judge Rosebrook as to the existence of the letter.

 39. By concealing the November 17, 2016 letter, Defendant Evanoff

    intentionally misled Judge Rosebrook, and or acted with a conscious

    disregard that his affidavit would have a tendency to mislead Judge

    Rosebrook.

 40. Defendant Evanoff did not have probable cause that the Diamond and

    Gold Outlet and/or Mr. Chiaverini possessed stolen property because

    the November 17, 2016 letter from Defendants Weitzel and Stewart

    had specifically requested that the Diamond and Gold Outlet hold the

    items at issue.
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  41. Defendant Evanoff did not otherwise have probable cause for the

     receiving stolen property claim against the Diamond and Gold Outlet

     and/or Mr. Chiaverini.

  42. The November 17, 2016 letteras clearly exculpatory or contained

     information that would have impeached the claims in Defendant

     EvanofPs affidavit, and was relevant to Judge Rosebrook's

     consideration of Defendant Evanoffs request fora search warrant.

  43. Had Officer Evanoff disclosed the existence of the November 17, 2016

     letter, a reasonable judge would not have issued the search warrant.

  44. As such, Defendant Evanoff did not provide Judge Rosebrook with a

     full and fair disclosure of all the material facts.

  45. Pursuant to Ohio Revised Code 4728.01, a "precious metals dealer" is

     defined as "a person who is engaged in the business of purchasing

     articles made of or containing gold, silver, platinum, or other precious

     metals or jewels of any description it M any manner including any

     form ofadvertising or solicitation ofcustomers, the person holds

     himself, herselfor itselfout to the public as willing to purchase such

     articles."

  46. Mr. Chiaverini, in his individual capacity, does not purchase precious

     metals or jewels from the public.
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  47. Defendant Evanoff knew, or should have known, that Mr. Chiaverini,

     in his individual capacity, did not purchase precious metals or jewels

     from the public.

  48. As such, Defendant Evanoff did not have probable cause that Mr.

     Chiaverini, in his individual capacity, did not violate Ohio's precious

     metals dealers license requirements.

  49. Defendant Evanoff knew, or should have known, that he did not have

     probable cause that Mr. Chiaverini, in his individual capacity, violated

     Ohio's precious metals dealers license requirements.

  50. At all times relevant, the Diamond and Gold Outlet did not advertise,

     solicit customers, or hold itself out to the public as willing to purchase

     precious metals.

  51. Defendant Evanoff knew, or should have known, that the Diamond

     and Gold Outlet had not, at all times relevant, advertised, solicited, or

     held themselves out to the public as willing to purchase precious

     metals.

  52. As such, Defendant Evanoff did not have probable cause that the

     Diamond and Gold Outlet had violated Ohio's precious metals dealers

     license requirements.

  53. Defendant Evanoff knew, or should have known, he did not have

     probable cause for the precious metals dealers license violation claim

     against the Diamond and Gold Outlet.
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  54. Further, Ohio Revised Code 4728.11, provides that a person is exempt

     from license requirements if the person is engaged in a retail jewelry

     or silverware business, has a valid vendor's license, maintains a fixed

     place of business in Ohio, and where the total value of the person's

     purchases from the public represents less than 25% of the person's

     total retail sales.

 55. The Diamond and Gold Outlet is exempt from having to maintain a

     precious metals dealers license because its purchases from the public

    does not exceed 25% of its total retail sales and it otherwise qualifies

    for the exemption.

 56. Defendant Evanoff knew or should have known that he did not have

    probable cause for the license requirements claim because the

    Diamond and Gold Outlet is exempt from the license requirements.

 57, Defendant Evanoff and Defendant Mendez unreasonably relied upon

    information from the Ohio Department of Finance indicating the

    Diamond and Gold Outlet did not have a precious metals dealers

    license, but Defendant Evanoff,and Defendant Mendez never inquired

    as to whether the Diamond and Gold Outlet was required to have a

    license.

 58. Defendant Evanoff further acted without jurisdiction in investigating

    and filing the license requirement claims because, pursuant to Ohio

    Revised Code. 4728.05 and 4728.10, the superintendent of finance has
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     jurisdiction to investigate matters pursuant to Ohio Revised Code

     4728.01, et seq.

  59. Defendant Evanoff knew, or should have known, that the

     superintendent of finance has jurisdiction to investigate and file

     license requirement claims.

  60. Further, Mr. Chiaverini, on behalf of the Diamond and Gold Outlet,

     had previously complained to Defendant City of Napoleon about other

     precious metals dealers advertising in the area without a precious

     metals dealers license.

  61. Defendant City of Napoleon advised that the Napoleon Police

     Department did not have jurisdiction to investigate precious metals

     dealers license complaints.

  62. As such, Defendant Evanoff knew,or should have known, that he

     violated the Napoleon Police Department's policy and/or practice that

     it did not have jurisdiction to investigate and,file precious metals

     dealers license complaints.

  63. Based upon information and belief, Defendant Evanoff is, or was, a

     licensed pawnbroker, or is, or was, a principle in a business entity that

     was a licensed pawnbroker.

  64. Pawnbrokers have similar statutory duties and license requirements,

     and exemptions, as precious metals dealers.
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  65. Pursuant to Ohio Revise Code 4728.02, a pawnbroker is not required

     to obtain a separate precious metals dealers license,

  66. As such, Defendant Evanoff has personal knowledge about Ohio's

     precious metals dealers license requirements beyond his law

     enforcement training and experience.

  67. Because Defendant Evanoff did not have probable cause, and further

     had concealed the November 17, 2016 letter, the December 2, 2016

     search warrant issued by the Napoleon Municipal Court was unlawful.

  68. On December 2, 2016, officers of the Napoleon Police Department

     executed the unlawful search warrant at the Diamond and Gold

     Outlet, and seized and removed not only the ring and earring in

     question, but also documents, computers, and other jewelry owned by

     the Diamond and Gold Outlet.

  69. The Defendant officers knew, or should have known,the search

     warrant was unlawful.

  70. On December 2, 2016, Defendant Evanoff, filed in the Napoleon

     Municipal Court criminal complaints against Mr. Chiaverini,

     individually, for money laundering, receiving stolen property, and

     precious metals dealers license requirements.

  71. Defendant Evanoff did not consult with the Napoleon City Law

     Director or Henry County Prosecutor prior to filing the criminal

     complaints against Mr. Chiaverini.
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  72. Based upon information and belief, the policies and procedures of the

     Napoleon City Law Director and/or Henry County Prosecutor require

     officers to consult with a prosecuting attorney prior to filing a felony

     criminal complaint.

  73. On December 8, 2016, Officer Evanoff filed an additional criminal

     complaint for money laundering, claiming, in addition to the charges

     filed on December 2, 2016, that Mr. Chiaverini had violated Ohio

     Revised Code 1315.55(03).

  74. Even though the Henry County Prosecutor was already involved in

     the pending case, which was scheduled for a pretrial conference that

     morning, Officer Evanoff did not consult with the prosecuting attorney,

     nor seek his approval for the additional charge prior to filing the

     complaint.

  75. For the reasons set forth herein as to the search warrant affidavit,

     Defendant Evanoff, likewise, did not have probable cause to file the

     criminal complaints for money laundering, precious metals dealers

     license requirements, and receiving stolen property.

  76. As to the precious metals dealers license equirements charge,

     Defendant Evanoff claimed that Mr. Chiaverini violated "Section

     4728.02 of the Ordinances of Napoleon, Ohio."
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  77. Defendant Evanoff knew, or should have known, that the Napoleon

     City Ordinances are not numbered beyond 1519, and therefore, that

     there was no "Section 4728.02 of the Ordinances of Napoleon, Ohio."

  78. For the reasons set forth herein as to the precious metals dealers

     license requirement charge, Defendant Evanoff did not have

     jurisdiction or authority to file the criminal complaint

  79. Defendant Evanoff did not have probable cause to charge Mr.

     Chiaverini individually for any of the charges he filed because Mr.

     Chiaverini, at all times relevant, was merely acting as an agent of the

     Diamond and Gold Outlet.

  80. Defendant Evanoff knew or should have known that he did not have

     probable cause for the any of the charges he filed against Mr.

     Chiaverini as an individual.

  81. The Criminal Rule 4 document issued by the Napoleon Municipal

     Court, stated "SUMMONS — WARRANT ON COMPLAINT."

  82, Judge Rosebrook further failed to check either,"You MAY issue

     summons in lieu of arrest... or after arrest" or "You MAY NOT issue

     summons..."

  83. When Defendant Mendez served Mr. Chiaverini with the criminal

     complaints and the Criminal Rule 4 document, attorney Rogers

     advised that the Criminal Rule 4 document did not clarify whether it

     was a "summon? or a "warrant." Defendant Mendez crossed out the
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     word,"summons" and said that the Criminal Rule 4 document was a

        an

  84. Mr. Chiaverm was neither a flight risk nor a threat to harm anyone.

  85. By comparison, the Defendant police offices only issued a summons for

     Defendant Burns, who, if Defendants David and Christina Hill are to

     be believed, committed the theft offense at issue.

  86. Defendants Evanoff and Mendez wrongfully arrested and incarcerated

     Mr. Chiaverini while issuing a mere summons to Defendant Burns.

  87. In requesting the search warrant, filing the criminal charges, and

     arresting Mr. Chiaverin, Defendants City of Napoleon, Evanoff,

     Stewart, and Mendez unreasonably relied upon a July 20, 2015 law

     enforcement policy issued by Ron O'Brien, Franklin County

     Prosecutor, and Richard C. Pfeiffer, Jr., City Attorney for the City of

     Columbus. That policy pertained to alleged stolen property being held

     by pawnbrokers.

  88. The Franklin County Prosecutor and Columbus City Attorney

     withdrew the policy after being notified of numerous problems with the

     policy.

  89. Defendants City of Napoleon, Evanoff, Stewart, and Mendez knew,or

     should have known, that the Franklin County Prosecutor and

     Columbus City Attorney had withdrawn the policy.
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  90. On, or about, December 21, 2016, Defendant City of Napoleon

     returned to the Diamond and Gold Outlet, the computers that were

     seized, Other items were returned on August 17, 2017. Defendant City

     of Napoleon, however, refuses to return the police hold letters that

     were seized during the execution of the unlawful search warrant.

  91. On September 26, 2017, Mr. Chiaverini delivered to Defendant City of

     Napoleon a public records request requesting copies of police hold

     letters that had been provided to the Diamond and Gold Outlet.

  92. As of November 16, 2017, Defendant City of Napoleon has yet to

     provide any documents in response to the public records request, or

     otherwise provide a written response.

 93. Defendants pursued and continued criminal prosecution of Mr.

     Chiaverini in retaliation for his lawful refusal, as a manager at the

     Diamond and Gold Outlet, to comply with their demands to release the

     ring and earring to Defendant David Rill, even though the November

     17, 2016 letter had specifically requested that the Diamond and Gold

     Outlet hold the items.

 94. Defendants aided and abetted one another and conspired together to

     cause the wrongful search and seizure of Plaintiffs' property, and the

     arrest, detention, and malicious prosecution of Mr. Chiaverini in

     violation of Plaintiffs' Constitutional and statutory rights.

                  COUNT ONE: MALICIOUS PROSECUTION
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 95. Mr. Chiaverini incorporates paragraphs 1 through 94 as if fully

     rewritten herein.

 96. Defendants acted with malice in instituting and continuing the

     prosecution of Mr. Chiaverini.

 97. Defendants did not have probable cause for the criminal prosecution of

     Mr. Chiaverini.

 98. Because Defendants did not have probable cause for the prosecution,

    Mr. Chiaverini is entitled to an inference that the proceedings were

    actuated by malice.

 99.As a direct and proximate cause of the wrongful and malicious

    prosecution, Mr. Chiaverini suffered a deprivation of liberty and

    incurred damages in excess of $25,000.

 100. The criminal proceeding was resolved in Mr. Chiaverini's favor

    when the Henry County Common Pleas Court dismissed the case

    against Mr. Chiaverini and later when the prosecuting attorneys

    decided not to pursue an indictment or further prosecution.

 101. Defendant City of Napoleon has recently represented affirmatively

    that criminal charges will not be further pursued against Mr.

    Chiaverini or the Diamond and Gold Outlet.

                         COUNT TWO FALSE ARREST
                         AND FALSE IMPRISONMENT

 102. Mr. Chiaverini incorporates paragraphs 1 through 101 as if fully

    rewritten herein.
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  103. Defendants intentionally arrested and caused the detention of Mr.

     Chiaverini at CCNO from December 2, 2016 to December 5, 2016.

 104. Said arrest and detention were done without Mr, Chiave ni's

    consent and without privilege.

 105. As a direct and proximate result of Defendant's wrongful arrest and

    imprisonment of Mr. Chiaverini, Mr. Chiaverini suffered a deprivation

    of liberty and he incurred damages in excess of $25,000.

                     COUNT THREE:42 U.S.C. Sec.1983

 106, Mr. Chiaverini incorporates paragraphs 1 through 105 as if fully

    rewritten herein.

 107. Pursuant to 42 U.S.C. Sec. 1983, government and government

    officials may be held liable for violation of a person's Constitutional

    and statutory rights.

 108. The Fourth Amendment to the United States Constitution prohibits

    the government and government officials from pursuing an unlawful

    search and seizure, and further from pursuing and continuing a

    malicious prosecution.

 109. The Fourteenth Amendment to the United States Constitution

    prohibits states and its political subdivisions, and their officials, from

    pursuing an unlawful search and seizure, and further from pursuing

    and continuing a malicious prosecution.
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  110, Defendants made, influenced, and/or participated in the decision to

     search and seize property from Plaintiffs, and to initiate a criminal

     prosecution against Mr. Chiaverini,including, but not limited to,

     arresting Mr. Chiaverini on December 2, 2016, incarcerating him

     without bail, and filing criminal complaints against him for money

     laundering, receiving stolen property, and license requirements.

  111. Defendants did not have probable cause for search and seizure of

     Plaintiffs' property, or the criminal prosecution of Mr. Chiaverini.

  112. Defendants acted with malice in the search and seizure of

     Plaintiffs' property, and in pursuing and continuing the criminal

     prosecution of Mr. Chiaverini, including his unlawful arrest and

     incarceration without bail.

  118. As a direct and proximate cause of Defendants' violation of 42

     U.S.C. Sec. 1983, Plaintiffs have incurred damages in excess of $3

     million.

                      COUNT FOUR:CIVIL CONSPIRACY

  114. Plaintiffs incorporateparagraphs 1 through 113 as if fully rewritten

     herein.

 115. Defendants acted as a malicious combination to cause injury to

     Plaintiffs.

 116. As a direct and proximate result of Defendants' wrongful

     conspiracy, Plaintiffs have incurred damages in excess of $25,000.
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               COUNT FIVE: CONSPIRACY AGAINST RIGHTS

 117. Plaintiffs incorporate paragraphs 1 through 116 as if fully rewritten

    herein.

 118. Defendants violated 18 U.S.C. sec. 241 when hey conspired to

    injure, oppress, threaten, and intimidate Plaintiffs in the exercise of

    their constitutional rights.

 119. Defendants violated 18 U.S.C. sec. 241 by conspiring to injury,

    oppress, threaten, and intimidate Plaintiffs for exercising their

    constitutional rights.

 120. As a direct and proximate result of Defendants' conspiracy against

    Plaintiffs' rights, Plaintiffs have incurred damages in excess of $3

    million.

                   COUNT SIX: DEPRIVATION OF RIGHTS

 121. Plaintiffs incorporate paragraphs 1 through 120 as if fully rewritten

    herein.

 122, Defendants violated 18 U.S.C. sec. 242 by, under color of law,

    willfully subjecting Plaintiffs to the deprivation of constitutional

    rights, privileges, or immunities.

 123. As a direct and proximate result of Defendants' wrongful

    deprivation of Plaintiffs' rights, Plaintiffs have incurred daniages in

    excess of $3 million.

                  COUNT SIX: NO QUALIFIED IMMUNITY
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  124. Mr, Chiaverini incorporates paragraphs 1 through 123 as if fully

     rewritten herein.

  125. Defendants City of Napoleon, Evanoff, Stewart, Mendez, and

     Weitzel are not entitled to qualified immunity because they knew or

     should have known that their actions violated Plaintiffs' clearly-

     established statutory and constitutional rights.

  126. Defendants Weitzel and Stewart specifically requested in their

     November 17, 2016 letter that the Diamond and Gold Outlet hold the

     items The Defendant police officers pursued and continued the

     criminal prosecution of Mr. Chiaverini because he failed to comply

     with their demands that he, as a manager of the Diamond and Gold

     Outlet, return the ring and earring, even though the Defendant police

     officers knew, or should have known, that Ohio Revised Code 4728.09

     and the November 17, 2016 letter specifically directed otherwise.

  127, Defendant City of Napoleon and the Defendant police officers knew

     or should have known that the money laundering claims, receiving

     stolen property claims, and license requirement claims were not

     supported by probable cause and knew or should have known that the

     Franklin County/ City of Columbus policy, upon which they relied, was

     rescinded.

                          COUNT SEVEN: REPLEVIN
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  128. Plaintiffs incorporate paragraphs 1 through 127, as if rewritten

     herein.

  129. Defendant City of Napoleon, through its officers and agents,

     unlawfully seized property belonging to the Diamond and Gold Outlet.

  130. Said property was seized pursuant to an unlawful search warrant,

  131. Defendant City of Napoleon has refused to return certain police

     hold letters that were seized.

  132. As a direct and proximate result of Defendant City of Napoleon's

     wrongful seizure and withholding of the Diamond and Gold Outlet's

     property, including the continuing withholding of property, the

     Diamond and Gold Outlet has incurred damages.

                COUNT EIGHT: PUBLIC RECORDS REQUEST

 133. Plaintiffs incorporate paragraphs 1 through 132, as if fully

    rewritten herein.

 134. Defendant City of Napoleon has willfully failed to provide the

     public records requested by Mr. Chiaverini and has otherwise failed to

     provide a written response or explanation for why the requested

    records have not been provided.

 135, As a direct and proximate result of Defendant City of Napoleon's

     willful failure to respond to Mr. Chiaverim's public records request,

     Mr. Chiaverini is entitled to a writ of mandamus ordering Defendant

     City of Napoleon to forthwith provide or make available the requested
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     documents and, further for statutory damages in the sum of $100 per

     day since the date of the request.

  136. Mr. Chiaverini is further entitled to an award of reasonable

     attorneys' fees and costs.

                     COUNT NINE: PUNITIVE DAMAGES

  137. Mr. Chiaverini incorporates paragraphs 1 through 136 as if frilly

     rewritten herein,

  138. Punitive damages are appropriate and necessary in this case

     because Defendants' conduct was willful, intentional, and deliberate,

     and done with a conscious and reckless indifference to the rights of Mr.

     Chiaverini

                         COUNT TEN: ATTORNEYS'FEES

 139. Mr. Chiaverini incorporates paragraphs 1 through 138 as if fully

    rewritten herein.

 140. Attorney fees are appropriate and necessary in this case pursuant

    to 42 U.S.C. sec 1988.

 141. Attorney fees are appropriate and necessary in this case pursuant

    to Ohio Revised Code 149.43.

 142. Attorney fees are further appropriate and necessary in this case

    pursuant to Ohio law.

  WHEREFORE, Plaintiffs respectfully request that the Court, issue

 judgment against Defendants in an amount exceeding $25,000 for
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  violations of Ohio law a judgment against Defendants in an amount

  exceeding $3 million for the violations of Defendants' civil rights; for an

  order of replevin ordering Defendant City of Napoleon to return the police

  hold letters; for an writ of mandamus ordering that Defendant City of

  Napoleon forthwith provide or make available for inspection, the public

 records requested by Mr. Chiavenni; for an award of punitive damages;

 for an award of reasonable attorneys' fees and costs; and for such other

 relief as the Court may find in law or equity.




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                                         Mathew O. Hutchinson (#0076345)
                                         Attorney for Plaintiff


                              JURY DEMAND

 Plaintiff hereby demands a trial by jury:



                                         Matthew O. Hutchinson (#0076345)
                                         Attorney for Plaintiff
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                                     PRAECIPE


To the clerk:



      Please issue a summons and a copy of the foregoing complaint to the sheriff

for personal or residential service upon the Defendants at the addresses set forth in

the caption pursuant to the Ohio Rules of Civil. Procedure.




                                                          v (
                                           "iifatthew O. Hutchinson (#0076345)
                                            Attorney for Plaintiff
